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MAY 07 2018

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Clark of Come i

Southern District of Texas

 

 

 

United States of America )
Y 7 cen, Mot 8° of ll: WM
Jorge TAVAREZ, YOB: 1981, USC )
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of April 17,.2017 in the county of Hidalgo __ inthe
Southern District of Texas , the defendant(s) violated: ,
Code Section Offense Description
21 U.S.C. 841 (a) (1), 846 __ Knowingly and Intentionally possess with Intent to Distribute approximately ©

10 kilograms of Cocaine, a Schedule II Controlled Substance.

Knowingly and Intentionally Conspire to possess with Intent to Distribute 5
kilograms or more of Cocaine, a Schedule II Controlled Substance

This criminal complaint is based on these facts:

See Attachment A

of Continued on the attached sheet.

: Sy \, peeing $ WA
Bpprod2_ la, Alfonso Le Jr.,D pecial Agent

Printed name and title

 

  
  

Sworn to before me and signed ih my presence.

Date: 05/07/2018

VA Judge's signature
| City and state: McAllen, Texas “Scott Hacker, U.S. Magistrate Judge

/ Printed name and title

 

 
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Attachment A

On or about November 7, 2017, Special Agents with McAllen Drug Enforcement Administration
(DEA) received information from a cooperating defendant (CD#1) that in April of 2017, a load of
approximately 10 kilograms of cocaine, which were destined for the State of North Carolina had
been seized by law enforcement authorities in the State of Alabama. CD#1 identified TAVAREZ
as an individual who assisted in the local transportation of the cocaine prior to it leaving the Rio
Grande Valley.

On January 18, 2018, Special Agent (SA) Alfonso Perez, Jr. and Task Force Officer (TFO)
Gilberto M. Vazaldua conducted an interview of Jorge TAVAREZ, hereinafter referred to as
TAVAREZ. TAVAREZ stated that on or about April 2017, he was instructed to drive to a
warehouse located on north Highway 281 and Owassa Rd. in Edinburg, Texas. TAVAREZ stated
that once at the warehouse, he was given a cardboard box, which contained approximately 10
kilograms of cocaine and was instructed to transport the cocaine to a male subject, who resides in
Mission, Texas. TAVAREZ told agents that after taking the cocaine to the residence, TAVAREZ
left. TAVAREZ told agents that several days later, he was contacted and told that the cocaine had
been seized by authorities in Alabama. TAVAREZ was provided documentation purported to
document that the load had been seized.

SAs received a copy of the paperwork purported to document the cocaine seizure. The
documentation was analyzed and determined to be fraudulent.
